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 5

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   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:18-CR-00051-LJO-SKO
11
                                  Plaintiff,              STIPULATION FOR PROTECTIVE ORDER
12
                            v.
13
     MIGUEL ANGEL ROSAS AND FRANCISCO                     COURT: Hon. Lawrence J. O'Neill
14   JAVIER ROSAS,

15                                Defendants.

16

17          WHEREAS, the discovery in this case involves information related to a confidential informant

18 and certain undercover law enforcement officers who may be subject to threats or physical harm if

19 his/her identity were publicly disclosed (the “Protected Information”); and

20          WHEREAS, the parties desire to have the Protected Information produced to undersigned

21 defense counsel;

22          The parties agree that entry of a stipulated protective order is appropriate.

23          THEREFORE, Miguel Angel Rosas (“Defendant”), by and through his counsel of record, Kevin

24 Little (“Defense Counsel”), Francisco Javier Rosas (“Defendant”), by and through his counsel of record,

25 Charles Magill (“Defense Counsel”), and the United States of America, by and through Assistant United

26 States Attorney Jeffrey A. Spivak, hereby agree and stipulate as follows:
27          1.     This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

28 Criminal Procedure, and its general supervisory authority.

      STIPULATION FOR PROTECTIVE ORDER                    1

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 1          2.      This Order pertains to the Protected Information, which will be produced to Defense

 2 Counsel under a separate Bates number category (“the discovery”). This Order also relates to any verbal

 3 communications between the government and Defense Counsel about the confidential informant.

 4          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 5 documents or other information, verbal or written, that contain Protected Information with anyone other

 6 than Defense Counsel, defense investigators, and support staff. Defense Counsel may permit Defendant

 7 to review un-redacted documents in the presence of his attorney, defense investigators, and support staff.

 8 The parties agree that Defense Counsel, defense investigators, and support staff shall not allow

 9 Defendant to copy Protected Information contained in the discovery.

10           4.     The discovery and information therein may be used only in connection with the litigation

11 of this case and for no other purpose. The discovery is now and will forever remain the property of the

12 government. Defense Counsel will return the discovery to the government or certify that it has been

13 destroyed at the conclusion of the case.

14          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

15 ensure that it is not disclosed to third persons in violation of this agreement.

16          6.      Defense Counsel shall be responsible for advising Defendant, employees, and other

17 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

18          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

19 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

20 this Order.

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      STIPULATION FOR PROTECTIVE ORDER                    2

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 1          8. Defense Counsel reserves the right to later seek to have the terms of this Order modified or
 2 revoked. Defense Counsel agrees to return the discovery to the Government in its complete form if the

 3
     terms of this Order are modified or revoked if so requested by the United States.
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 6          IT IS SO STIPULATED.

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            DATED: April 10, 2018                 McGREGOR W. SCOTT
 8                                                United States Attorney
 9                                                By: /s/ Jeffrey A. Spivak
10                                                JEFFREY A. SPIVAK
                                                  Assistant U.S. Attorney
11

12          DATED: April 10, 2018                 By: /s/ Kevin G. Little
                                                  KEVIN G. LITTLE
13                                                Attorney for Defendant Miguel Angel Rosas
14
            DATED: April 10, 2018                 By: /s/ Charles Magill
15                                                CHARLES MAGILL
                                                  Attorney for Defendant Francisco Javier Rosas
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18 IT IS SO ORDERED.

19      Dated:     April 10, 2018                            /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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      STIPULATION FOR PROTECTIVE ORDER                   3

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